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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

    UNITED STATES OF AMERICA,                  )
                                               )
                  Plaintiff,                   )
                                               )
           vs.                                 )                  Cr. No. 17-2558 MV
                                               )
    ARTHUR PERRAULT,                           )
                                               )
                  Defendant.                   )
                                               )

        UNITED STATES’ SECOND AMENDED PROPOSED WITNESS LIST

         The United States respectfully submits this Second Amended 1 Proposed Witness

List. The United States reserves the right to call additional custodians of records as

necessary, to call any witness named by the defense, and to amend its witness list as

necessary before and during trial. Witnesses who may testify during the United States’

case-in-chief include:

    Name                   Title                   Relevance to Case   Estimated time of
                                                                       Testimony
    Edward Blea            Former Deacon,          Evidence of         30 minutes
                           St. Bernadette’s        interaction with
                           Parish                  Defendant at time
                                                   of charged offenses
    Benedict Bourgeois     Special Agent,          Seizure of evidence 1 hour
                           Federal Bureau of       from Defendant and
                           Investigation           post-arrest
                                                   interview
    Victoria Bratton       Former Air              Knew Defendant       30 minutes
                           National Guard          when he was
                                                   chaplain at Kirtland

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  This amendments reflected in this list are as follows: (1) adding the name of the land
status witnesses for Kirtland Air Force Base and the Santa Fe National Cemetery; (2)
adding AFOSI Special Agent Michael Thrasher.
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                     member, Kirtland          Air Force Base, the
                     Air Force Base            location of several
                                               charged offenses
Father Glenn Jones   Custodian of              Authentication of     15 minutes
                     Records –                 Church records
                     Archdiocese of            pertaining to
                     Santa Fe                  Defendant
Priscilla Griego     Custodian of              Authentication of     15 minutes
                     Records – St.             St. Bernadette’s
                     Bernadette’s Parish       Parish sacramental
                                               records
TBA                  Custodian of              Authentication of     15 minutes
                     Records – Second          Court records
                     Judicial District         pertaining to
                     Court of New              Defendant
                     Mexico

John Doe 1           Victim                    Sexually abused by    8 hours
                                               Defendant
John Doe 2           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 3           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 4           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 5           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 6           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 7           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 8           Victim                    Sexually abused by    2 hours
                                               Defendant
John Doe 9           Victim                    Sexually abused by    2 hours
                                               Defendant
Gail Goodman         Forensic                  Testimony about       8 hours
                     psychologist              delayed disclosure
                                               by child sexual
                                               abuse victims and
                                               other relevant
                                               matters


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Merrica Heaton     United States        Testimony about         30 minutes
                   Department of State incriminating
                                        statements by
                                        Defendant
Reverend Timothy Former Assistant       Evidence of             15 minutes
Martinez           Pastor at San Felipe interaction with
                   de Neri Church       Defendant at time
                                        of charged offenses
Mother of John Doe Victim’s mother      Testimony about         1 hour
3                                       incriminating
                                        statements by
                                        Defendant
Mother of John Doe Victim’s mother      Testimony about         1 hour
5 and 6                                 incriminating
                                        statements by
                                        Defendant
Cristina Sandoval  Special Agent,       Seizure of evidence     30 minutes
                   Federal Bureau of    from Defendant
                   Investigation
Cheryl Tuttle      Former Air           Knew Defendant          30 minutes
                   National Guard       when he was
                   member, Kirtland     chaplain at Kirtland
                   Air Force Base       Air Force Base, the
                                        location of several
                                        charged offenses
Carl Ciccarelli    Kirtland Air Force   Testimony of land       30 minutes
                   Base                 status within special
                                        maritime and
                                        territorial
                                        jurisdiction of the
                                        United States
Jared Howard       Santa Fe National    Testimony of land       30 minutes
                   Cemetery             status within special
                                        maritime and
                                        territorial
                                        jurisdiction of the
                                        United States
Paul Michael       Special Agent, Air   Testimony               30 minutes
Thrasher           Force Office of      concerning Air
                   Special              Force personnel
                   Investigations       records related to
                                        Defendant

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                                           Respectfully submitted,


                                           JOHN C. ANDERSON
                                           United States Attorney


                                           /s
                                           SEAN J. SULLIVAN
                                           HOLLAND S. KASTRIN
                                           Assistant U.S. Attorneys
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                                           Albuquerque, NM 87102

I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendants.
 filed electronically
Holland S. Kastrin




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